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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   MELODY M. WALCOTT, Bar #219930
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   JOEL GALLEGOS
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )   NO. 1:08-cr-00068 AWI
                                                    )
12                         Plaintiff,               )   STIPULATION TO CONTINUE
                                                    )   STATUS CONFERENCE HEARING;
13          v.                                      )   ORDER
                                                    )
14   JOEL GALLEGOS,                                 )
                                                    )   Date: February 23, 2009
15                         Defendant.               )   Time: 9:00 a.m.
                                                    )   Judge: Hon. Anthony W. Ishii
16                                                  )
17
18          IT IS HEREBY STIPULATED by and between the parties hereto and through their
19   respective attorneys, that the status conference hearing in the above-captioned matter now scheduled for
20   February 17, 2009 may be continued to February 23, 2009 at 9:00 a.m.
21          This continuance is requested by counsel for defendant to allow additional time for plea
22   negotiations and defense preparation. AUSA Marlon Cobar has no objection.
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///
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 1           The continuance for further plea negotiations is in the interest of justice and will allow the case to
 2   proceed. Defense requests time be excluded pursuant to 18 U.S.C. § 3161(h)(8)(A).
 3
 4                                                                   LAWRENCE G. BROWN
                                                                     Acting United States Attorney
 5
 6   DATED: February 11, 2009                                    By /s/ Marlon Cobar
                                                                    MARLON COBAR
 7                                                                  Assistant United States Attorney
                                                                    Attorney for Plaintiff
 8
 9
                                                                     DANIEL J. BRODERICK
10                                                                   Federal Defender
11
     DATED: February 11, 2009                                    By /s/ Melody M. Walcott
12                                                                  MELODY M. WALCOTT
                                                                    Assistant Federal Defender
13                                                                  Attorney for Defendant
                                                                    JOEL GALLEGOS
14
15
                                                        ORDER
16
             IT IS SO ORDERED. Time is hereby excluded pursuant to 18 U.S.C. §§ 3161(h)(8)(A).
17
18
19   IT IS SO ORDERED.
20   Dated:      February 11, 2009                        /s/ Anthony W. Ishii
     0m8i78                                      CHIEF UNITED STATES DISTRICT JUDGE
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22
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     Stipulation to Continue Status Conference
     Hearing; [Proposed] Order                             -2-
